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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

                                                   §
   WESTPORT FUEL SYSTEMS CANADA,                   §
   INC.,                                           §
               Plaintiff,                          §
   v.                                              §       Case No. 2:21-cv-00455-JRG-RSP
                                                   §
   NISSAN NORTH AMERICA, INC.                      §
               Defendant.                          §


                                              ORDER

           Before the Court plaintiff Westport Fuel Systems Canada, Inc. and defendant Nissan

  North America, Inc. provide notice of a Stipulation and seek an Order with respect to the
   .
  same. More specifically, the Stipulation provides that Nissan’s motion to dismiss, Dkt. No. 30,

  is (1) moot to the extent it challenges the sufficiency of the pleadings in light of Westport’s

  First Amended Complaint, Dkt. No. 107, and (2) ripe to the extent it challenges venue without

  the need of refiling the motion or the briefings because the First Amended Complaint does not

  alter Westport’s original pleadings with respect to venue.

           In light of the Stipulation, Nissan’s motion to dismiss, Dkt No. 30, is declared moot

  to the extent it challenges the sufficiency of the pleadings and ripe to the extent it challenges

  venue.
            SIGNED this 3rd day of January, 2012.
           SIGNED this 17th day of August, 2022.




                                                       ____________________________________
                                                       ROY S. PAYNE
                                                       UNITED STATES MAGISTRATE JUDGE
